                            Case 6:21-cv-00474-AA                                      Document 59-18                     Filed 08/11/21          Page 1 of 26



See discussions, stats, and author profiles for this publication at: https://www.researchgate.net/publication/312578584



Fighting for Survival: The experiences of lesbian, gay, bisexual, transgender,
and questioning students in religious colleges and universities

Article in Journal of Gay & Lesbian Social Services · January 2017
DOI: 10.1080/10538720.2016.1260512



CITATIONS                                                                                              READS

13                                                                                                     1,187

4 authors, including:

            Shelley L Craig                                                                                       Ashley Austin
            University of Toronto                                                                                 Barry University
            143 PUBLICATIONS 1,840 CITATIONS                                                                      53 PUBLICATIONS 877 CITATIONS

                SEE PROFILE                                                                                          SEE PROFILE




Some of the authors of this publication are also working on these related projects:


                           International Partnership for Queer Youth Resilience (INQYR) View project


                           Project #Queery: The Influence of Information and Communication Technologies on the Resilience and Coping of Sexual and Gender Minority Youth in the United States
                           and Canada View project




               EXHIBIT R
 All content following this page was uploaded by Shelley L Craig on 09 October 2018.
                                                                                                                                                                               1
 The user has requested enhancement of the downloaded file.
                    Case 6:21-cv-00474-AA                Document 59-18          Filed 08/11/21         Page 2 of 26

                       Journal of Gay & Lesbian Social Services




                       ISSN: 1053-8720 (Print) 1540-4056 (Online) Journal homepage: http://www.tandfonline.com/loi/wgls20




                Fighting for survival: The experiences of lesbian,
                gay, bisexual, transgender, and questioning
                students in religious colleges and universities

                Shelley L. Craig, Ashley Austin, Mariam Rashidi & Marc Adams

                To cite this article: Shelley L. Craig, Ashley Austin, Mariam Rashidi & Marc Adams (2017)
                Fighting for survival: The experiences of lesbian, gay, bisexual, transgender, and questioning
                students in religious colleges and universities, Journal of Gay & Lesbian Social Services, 29:1,
                1-24, DOI: 10.1080/10538720.2016.1260512

                To link to this article: http://dx.doi.org/10.1080/10538720.2016.1260512




                        Published online: 20 Jan 2017.



                        Submit your article to this journal



                        View related articles



                        View Crossmark data




                                       Full Terms & Conditions of access and use can be found at
                              http://www.tandfonline.com/action/journalInformation?journalCode=wgls20
          EXHIBIT R                                                                                                              2
Download by: [99.243.64.29]                                                                                 Date: 20 January 2017, At: 21:48
Case 6:21-cv-00474-AA                        Document 59-18                  Filed 08/11/21                Page 3 of 26

   JOURNAL OF GAY & LESBIAN SOCIAL SERVICES
   , VOL. , NO. , –
   http://dx.doi.org/./..




   Fighting for survival: The experiences of lesbian, gay,
   bisexual, transgender, and questioning students in religious
   colleges and universities
   Shelley L. Craiga , Ashley Austinb , Mariam Rashidic , and Marc Adamsd
   a
    University of Toronto, Toronto, Ontario, Canada; b Barry University, Miami Shores, Florida, USA; c Ministry
   of Aboriginal Aﬀairs, Toronto, Ontario, Canada; d Heartstrong, Inc., Seattle, Washington, USA



       ABSTRACT                                                                              KEYWORDS
       Little is known about the experiences of lesbian, gay, bisex-                         gay, lesbian, bisexual, and
       ual, transgender, and questioning (LGBTQ) students attending                          transgender students;
       religious colleges and universities. This study used grounded the-                    religious colleges and
                                                                                             universities; hegemony;
       ory to analyze the narratives (N = 271) of LGBTQ former and cur-
                                                                                             religious abuse
       rent students. The central theme described by LGBTQ students
       was a fight for survival with five subthemes: (a) institutionalized
       homo/transphobia (strict school policies, enforcement of hetero-
       sexuality and gender conformity through discipline, conversion
       therapy); (b) a culture of fear (fear of exposure, homophobic panic
       and code words, seeking cover); (c) marginalization and isolation;
       (d) struggle (suffering and suicide, reconciling faith and LGBTQ
       identity); and (e) coping and resilience (surviving through critical
       thinking and strategic activism). Implications for practice are pro-
       vided.



   Introduction
   Lesbian, gay, bisexual, transgender, and questioning (LGBTQ) college and uni-
   versity students attend public and private institutions (Woodford, Krentzman, &
   Gattis, 2012). Although the independent nature of many religiously affiliated uni-
   versities and colleges makes definitive enrollment numbers difficult to determine,
   the United States Department of Education (2014) states that there are more than
   4 million undergraduate students enrolled in private non-profit (2.7 million) or for-
   profit (1.5 million) schools. Broughman, Swaim, and Keaton (2009) reported that
   sectarian entities comprise approximately 76% of private educational institutions.
   Although public attitudes on and off campuses are increasingly accepting of LGBTQ
   identities (Newport, 2011), it is unknown whether students in religiously affiliated
   institutions benefit from such social changes. LGBTQ students in religious colleges
   and universities may also have distinct experiences that influence their well-being

   CONTACT Shelley L. Craig, PhD, RSW, LCSW          shelley.craig@utoronto.ca      Factor-Inwentash Faculty of Social Work,
   University of Toronto,  Bloor Street West, Toronto, Ontario, MS A, Canada.
   Color versions of one or more of the ﬁgures in the article can be found online at www.tandfonline.com/wgls.
   Mariam Rashidi is now aﬃliated with the Ministry of Children and Youth Services.
   ©  Taylor & Francis Group, LLC


   EXHIBIT R                                                                                                               3
Case 6:21-cv-00474-AA           Document 59-18           Filed 08/11/21        Page 4 of 26
   2      S. L. CRAIG ET AL.


   that are not captured in research with students in non-sectarian institutions. The
   limited research on LGBTQ students in religious schools suggests that despite the
   proliferation of sectarian institutions, there are challenges accessing these popula-
   tions. This study explores the virtually unknown experiences of LGBTQ current and
   former students at religiously affiliated colleges and universities (RCU).


   College climates for LGBTQ students

   Educational climates have a profound influence on the mental health of students.
   Mounting research indicates that homophobia, transphobia, heterosexism, and hos-
   tility on college campuses (Rankin, 2003; Woodford et al., 2012) contribute to fear,
   anxiety, and depression among LGBTQ students (Evans & Broido, 1999; Woodford,
   Han, Craig, Matney, & Lin, 2013). Such climates result in students feeling unsafe and
   so fearful of exposure that they avoid spaces known to be LGBTQ friendly and/or try
   to present as heterosexual/gender conforming (Newman & Fantus, 2015). Moreover,
   students often do not report incidents of victimization to administration for fear of
   retribution, such as lowered grades or disrespectful classroom treatment (Rivers &
   Taulke-Johnson, 2002).
       Research indicates the negative consequences of hostile campus climates on well-
   being of LGBTQ students. School victimization is related to suicidality and poor
   mental health, such as posttraumatic stress disorder (PTSD; D’Augelli, Pilkington,
   & Hershberger, 2002; Walls, Freedenthal, & Wineski, 2008). Negative perceptions
   of campus climate are significantly associated with emotional distress and academic
   disengagement (Cress, 2000), as well as discrete stigmatizing events, such as victim-
   ization by peers (Coker, Austin, & Schuster, 2010). Schmidt and Nilsson (2006) note
   that even when LGBTQ youths do not experience direct victimization in school,
   they face a “bottleneck effect” in career development, as they must focus their energy
   on addressing internal psychological issues regarding the suppression and “neutral-
   ization” of their sexual identity while in school, rather than being able to direct that
   energy toward their classes or careers (p. 22).


   The religious school as a social context

   Social context is important to the healthy development of psycho-sexual identity
   (Wilkinson & Pearson, 2009). As key socializing institutions, schools are critical
   contexts in which to examine the development and emergence of LGBTQ identity.
   To understand the experiences of LGBTQ students in religious schools, sexual orien-
   tation and gender identity must be considered within the broader context of religion.
   Despite increasing societal pressures, many religious organizations have not funda-
   mentally altered their viewpoint that the “homosexual lifestyle” goes against their
   moral code (Cohen, Aviv, & Kelman, 2009). Sherkat (2002) suggests that LGB indi-
   viduals have long experienced rejection by many religious denominations, as “few
   of the more than 2,500 American religious denominations actively ‘affirm’ homo-
   sexuality as a valid and morally supportive lifestyle and many still condemn it as a

   EXHIBIT R                                                                             4
Case 6:21-cv-00474-AA           Document 59-18            Filed 08/11/21          Page 5 of 26
                                                JOURNAL OF GAY & LESBIAN SOCIAL SERVICES   3


   sin” (p. 12). Despite increased tolerance from many denominations, there remains
   a lack of acceptance of LGBTQ individuals in major religious institutions (Sherkat,
   Powell-Williams, Maddox, & de Vries, 2011).
       Research on the effects of religion on LGBTQ populations is mixed. Rosario,
   Yali, Hunter, and Gwadz (2006) discovered that religious participation served as
   a protective factor for sexual health and substance abuse for male but not female
   youths. Other studies have found that religion negatively impacts well-being among
   LGBTQ populations (Hatzenbuehler, Pachankis, & Wolff, 2012). Minority stress
   theory, which posits elevated stigma exposure contributes to mental health dispar-
   ities for LGB populations (Meyer, 2003), supports an explanation of the differential
   influence of religion on LGB students. Specifically, non-affirming religious settings
   appear to contribute to minority stress and high levels of internalized homophobia
   (Barnes & Meyer, 2012). Similarly, compared to communities with LGBTQ affirma-
   tive religious climates, hostile religious social contexts contribute to higher rates of
   alcohol use, sexual health risks, and suicide attempts for LGBTQ youths (Hatzen-
   buehler, 2011; Hatzenbuehler et al., 2012).
       Non-affirming religious contexts tend to be those rooted in fundamentalism
   (Whitley, 2009). A study conducted by Tsang and Rowatt (2007) with 137 col-
   lege students at a private religious university found a positive correlation between
   fundamentalism and level of prejudice toward gay men and lesbians. In such reli-
   gious contexts, LGBTQ individuals may feel that their identities and relationships
   are “wrong”; this homophobic perspective is reinforced as LGBTQ individuals are
   actively shunned by their peers in many religious environments (Sanabria, 2012;
   Whitehead, 2010). As a result, LGBTQ students often feel alienated within non-
   affirming religious organizations (Wolff & Himes, 2010).


   LGBTQ students and religious schools
   In response to increasing student demands for the organization of gay-straight
   alliances on campuses, many secular schools have begun to focus on LGBTQ issues
   (Eckholm, 2011). Some scholars assert that the policies of sectarian institutions are
   also evolving, with LGBTQ issues gaining attention within Christian colleges over
   the past decade and few schools currently disciplining or banning LGBTQ popula-
   tions (Wolff & Himes, 2010). However, such claims of LGBTQ support have been
   refuted by LGBTQ advocacy organizations (Soulforce, 2014; Epstein, Telford, &
   O’Flynn, 2003). More than 200 American colleges and universities with religious
   or military affiliations continue to reject admission to “out” LGBTQ students (Soul-
   force, 2014). On religious campuses, there are a variety of strategies employed by
   administrators (in the name of religious morality or freedom) that reduce LGBTQ
   student influence (Eckholm, 2011). A recent trend is for RCU to create sanctioned
   groups for LGBTQ students under the close scrutiny of school leadership; such
   groups create the appearance of a supportive climate but have been experienced
   as unsafe by some LGBTQ students. Most educational institutions do not request
   that students identify their sexual orientation or gender identity, which may absolve

   EXHIBIT R                                                                               5
Case 6:21-cv-00474-AA            Document 59-18           Filed 08/11/21        Page 6 of 26
   4      S. L. CRAIG ET AL.


   universities from specifically considering LGBTQ student needs (Epstein, Telford, &
   O’Flynn, 2003). Despite the challenges articulated by LGBTQ students, few studies
   have focused on their needs in religious social contexts. This study aims to generate
   an understanding of the experiences of current and former students at RCU using
   grounded theory.


   Methods

   Data collection

   An online project aimed at gathering data on the experiences of LGBTQ students in
   sectarian educational institutions in the United States was conducted. Data consisted
   of personal narrative documents (Bowen, 2009) submitted anonymously through
   the website of Heartstrong, Inc., a national education organization. No identifying
   information was collected. The main page of the website contained a large clickable
   tab that stated “Share your experiences in religious schools.” Potential participants
   were then able to click to receive information and begin the study. After completion
   of informed consent, participants were able to complete a Religious Educational
   Experiences Narrative (REEN). The REEN was created for this study and did not
   limit the length of the narrative replies. Between 2006 and 2010, 321 REENs were
   submitted ranging in length from one to seven pages. All REENs were analyzed for
   study inclusion criteria: (a) a minimum of one completed year at a religiously affil-
   iated college or university and (b) self-identification as an LGBTQ individual. In
   total, 271 forms met inclusion criteria.
      The REEN posed two primary questions related to participants’ experiences
   as an LGBTQ student in a religious school: (a) Please describe your experiences
   in religious colleges and universities; and (b) Please describe the experiences of
   any of your friends in these environments. This second research question was
   based on the literature that identifies that both personal and ambient heterosexist
   harassment (directed toward peers) impacts the mental health of college students
   (Silverschanz, Cortina, Konik, & Magley, 2008). The content was analyzed accord-
   ing to the guiding exploratory questions for the study: What are/were experiences
   of LGBTQ persons while enrolled in religious colleges or universities? What were
   participants’ responses to their experiences in these settings? What effects, if any, did
   these experiences have on their mental health, well-being, academics, and religious
   involvement?


   Sample
   Participant ages ranged from 17 to 56 (x̄ = 29). A majority identified as male
   (59%), compared to female (40%) or transgender (1%). Reported sexual orientations
   included gay (59%), lesbian (30%), bisexual (7%), or unsure/questioning (4%) (see
   Table 1). Participant race and ethnicity were not captured, but participants were able
   to write in their religious and educational affiliations in an open-ended question.

   EXHIBIT R                                                                              6
Case 6:21-cv-00474-AA                     Document 59-18                   Filed 08/11/21               Page 7 of 26
                                                               JOURNAL OF GAY & LESBIAN SOCIAL SERVICES                 5


   Table . Participant demographics (N = ).
    Demographic                                                        Count                           Percentage (%)

    Age (N = )
      >                                                                                                  .
      –                                                                                              .
      –                                                                                               .
      –                                                                                                .
      <                                                                                                   .
    Gender Identity (N = )
      Male                                                                                               .
      Female                                                                                              .
      Transgender                                                                                            .
    Sexual Orientation (N = )
      Gay                                                                                                .
      Lesbian                                                                                             .
      Questioning/Unsure                                                                                   .
      Straight                                                                                              .
      Bisexual                                                                                              .
      Queer                                                                                                 .
    Graduated from Religious School (N = )
      Yes                                                                                                .
      No                                                                                                  .

   Note. All questions were voluntary and some participants did not respond. The Religious Educational Experiences
    Narrative (REEN) did not contain questions about race or ethnicity.

   Participants reported a wide variety of denominations and sectarian institutions,
   including Catholic, Seventh-day Adventist, Islamic, Jewish, Methodist, Christian,
   Baptist, as well as variations within those groups (e.g., charismatic, fundamentalist,
   conservative, orthodox).


   Analysis

   Data were analyzed using grounded theory strategies (Charmaz, 2014). The process
   of exploring the experiences of LGBTQ students in RCU began by reading tran-
   scripts to initiate understanding of participants’ experiences. All four authors inde-
   pendently coded the transcripts, using open and line-by-line coding and constant
   comparison within and across data (Charmaz, 2014). The two primary researchers
   then engaged in focused coding to further explore initial codes that appeared partic-
   ularly relevant to participant struggles during college or university, which allowed
   for some of the implicit concepts in the data to become more explicit. Grounding
   the analyses in the data led to identification and ordering of codes, the generation
   of categories, and the development of larger analytical concepts (Charmaz, 2014).
   Theoretical sampling, the process of purposely seeking and exploring specific data
   to elaborate and refine emerging categories (Charmaz, 2014), was used to ensure
   the development of precise categories and overarching concepts. Over four research
   meetings, core findings were discussed and concepts were further refined, leading to
   the development of one primary theme, Fight for Survival, and five subthemes (insti-
   tutionalized homo/transphobia; fear; isolation; struggle; and coping and resilience)
   associated with the experiences of LGBTQ students in RCU.
      The research team took several steps to enhance the methodological rigor of the
   study and to ensure credibility, confirmability, dependability, and transferability of

   EXHIBIT R                                                                                                         7
Case 6:21-cv-00474-AA           Document 59-18          Filed 08/11/21        Page 8 of 26
   6      S. L. CRAIG ET AL.


   results. Trustworthiness measures included the research experience of the investiga-
   tive team (members have expertise in grounded theory methodologies and clinical
   and research experience with LGBTQ populations); the use of thick description
   (the extensive use of descriptive accounts and quotes); and maintenance of an audit
   trail (detailed recordings of the research steps and process) (Padgett, 2008). Written
   notes, memos, and feedback from the research team were used throughout data
   analysis to confirm themes and to validate interpretations of participant experiences
   to ensure the findings were grounded in the data.


   Researchers’ backgrounds and assumptions
   The first author is a lesbian who has worked with LGBTQ populations in practice
   and research for two decades. She was also a student at a religious undergraduate
   institution. The second author is a pansexual woman with more than 15 years of
   research experience with LGBTQ populations and is currently a faculty member
   at a Catholic university that takes an affirming stance toward LGBTQ populations
   and issues. As a student, she did not attend a religious institution. The third author
   identifies as a heterosexual person of color with no religious school experience. The
   fourth author is a gay man that attended an undergraduate religious institution. Pre-
   vious clinical, research, and personal experience led to the researchers’ assumptions
   that LGBTQ students in religious educational institutions have experiences that are
   different from other educational experiences.
      Because researchers had limited access to participants and there was no oppor-
   tunity for member checking, all members of the research team met twice for
   two hours to reflect upon the findings within the context of our own profes-
   sional, religious, and social locations to explore the possibility of biased interpre-
   tations. Helpful feedback from this process included the recognition that while
   the data included narratives from students/former students who experienced egre-
   gious harm within their religious educational contexts, and that while similar to
   the experiences of some of the researchers and/or former LGBTQ youths served by
   members of the research team, these experiences may vary by student and institu-
   tion, and may not be universal. This perspective was incorporated into the research
   team’s final analysis and presentation of the findings and limitations. The research
   team worked to explore and reflect upon the impact that positionality (e.g., queer,
   female), religious backgrounds and or current affiliations (Christian, Jewish, Mus-
   lim, atheist), and prior clinical experiences (e.g., working with LGBTQ students that
   had attended/were attending religious schools) may have on the interpretation of
   findings.

   Findings
   A core idea that emerged from the experiences of LGBTQ students in religious
   schools was their fight for survival. This fight for survival included emotional, psy-
   chological, spiritual, and physical facets. Participants’ narratives revealed five sub-
   themes associated with their fight to survive in religious schools:
   EXHIBIT R                                                                            8
Case 6:21-cv-00474-AA           Document 59-18            Filed 08/11/21          Page 9 of 26
                                                JOURNAL OF GAY & LESBIAN SOCIAL SERVICES   7


       1. institutionalized homo/transphobia (strict school policies, enforcement
          of heterosexuality and gender conformity through discipline, conversion
          therapy);
       2. a culture of fear (fear of exposure, homophobic panic and code words, seek-
          ing cover);
       3. marginalization and isolation;
       4. struggle (suffering and suicide and reconciling faith and sexual orientation);
          and
       5. coping and resilience (or a struggle for resilience).
      Participants’ quotes have been presented as submitted, except where indicated in
   brackets.


   Institutionalized homophobia and transphobia

   Strict anti-LGBTQ school policies
   LGBTQ students were very aware of their school policies. To set the context for their
   experiences, many participants initially described strict policies for student behavior
   that were clearly outlined in student handbooks. According to one participant, these
   anti-LGBTQ policies were introduced at the very beginning of their matriculation:
   “During orientation, each student was given a code of conduct that was enforced.”
   These handbooks essentially function as the student code of conduct and students
   are required to sign off and abide by them as conditions of continued enrollment.
   Another participant (age 21) noted the strong anti-LGBTQ stance explicated in his
   or her school’s policy: “In the student handbook, it clearly states that if students are
   caught in homosexual acts, they will be expelled.”
      Within these handbooks, many schools articulated inappropriate behavior (e.g.,
   caught performing homosexual acts) instead of identity (e.g., being LGBTQ). How-
   ever some policies considered an LGBTQ orientation as a transgression equal to
   troubling sexual crimes (e.g., sexual violence). One student (age 23) stated, “In the
   handbook, it lists homosexuality as equally violent as rape and sexual abuse and they
   were each disciplined with equal weight.”
      Thus, conservative religious educational institutions often hold policies com-
   pletely forbidding students from acting on their sexual orientation or voicing the
   “struggle” of having an LGBTQ identity (Sanabria, 2012) and reinforce those expec-
   tations by establishing parallels with egregious crimes. The institutionalization of
   homophobic policies and viewpoints in documents such as the student handbook, a
   principal document which is supposed to detail and safeguard the rights of students,
   was particularly troubling to many respondents.

   Enforcement of heterosexuality and gender normativity through discipline
   Many students reported instances of discipline for attempting to embody their
   burgeoning LGBTQ identities. In some circumstances, often under threat of expul-
   sion, students would agree to modify attitudes, behaviors, or appearance that
   transgressed university-sanctioned social norms. The following quote describes
   the experience of a transgender freshman (age 19) forced to engage in dress and
   EXHIBIT R                                                                               9
Case 6:21-cv-00474-AA               Document 59-18               Filed 08/11/21           Page 10 of 26
   8        S. L. CRAIG ET AL.


   behavior inconsistent with his internal sense of self in order to continue matricu-
   lating in his Christian school.
       During my first year at college, someone saw my girlfriend and I kiss on the swings at
       the campus park and immediately went and told the pastor of the school and church. The
       pastor called my house and informed my grandparents that I wasn’t allowed on campus
       because of my actions. They were going to expel me but my grandparents want me in that
       school and I really have no say in it. Also they found my website that explains me being
       transgender and wanting to be male. So when I went into the meeting immediately they
       said I was out of the school. My grandparents were then called in and somehow I was let
       back in with these rules: I had to wear a skirt every day, grow my hair out, stay away from
       the girls, [and] go to their church 3 times a week. I was forced to sign a contract saying I
       was to follow those rules for the rest of the year.

      For violating both implicit and explicit rules, this student was disciplined through
   social exclusion, open shaming, and threats of expulsion, which in turn caused
   stress for his family. The final agreement between the school and the grandparents
   resulted in consequences that can have notable detrimental impacts on well-being
   for transgender individuals. Other participants similarly reported that their families
   or friends were often used as an additional form of social pressure to coerce changes
   in their attitudes or behavior.
      Students often had to engage in concrete behaviors (e.g., signing a contract
   or attending services) intended to enforce conformity to a gender or religious
   norm. Sometimes the enforcement included physical punishment or deprivation. A
   42-year-old participant stated the following:
       I] was slated in the end to be put on a 40 day fast of bread and water because I loved another
       man. I am diabetic. If I had submitted to the fast I would have died. I left them instead. For
       the penalty of masturbation, [I] had to recite almost endlessly a litany of prayers, bowings
       to the east and received harsh words and disciplines for such infractions. It was thought
       that it would be better that a homosexual should die so as not to commit any homosexual
       acts or deeds.

      The enforcement of heterosexuality and gender conformity within some RCU
   included a wide range of disciplinary actions that were damaging to students’
   well-being.


   Conversion therapy
   Very few participants reported seeking help to cope with their struggles regarding
   their LGBTQ identities. Most stated simply that “[t]here are no safe or available
   resources for those who struggle.” Those that accessed the school counseling center
   experienced interventions intended to suppress their LGBTQ identity.
       I did not have anyone to talk to. I put in a counseling request form, though I was afraid of
       what might happen because of my school’s policy. I was sure that they would not even be
       allowed to affirm me as gay. During my intake appointment the counselor did exactly what
       I feared, she referred me to what I was sure was “reparative therapy”; at least that was what
       she described. I did not protest because, quite simply, I was too scared. After much internal
       conflict, I decided to go through with it and contact the therapist because I was completely
       desperate at that point. I was even considering “ex-gay” again. (Age 25)
   EXHIBIT R                                                                                        10
Case 6:21-cv-00474-AA            Document 59-18              Filed 08/11/21           Page 11 of 26
                                                    JOURNAL OF GAY & LESBIAN SOCIAL SERVICES        9


      Other students similarly reported the widespread use of controversial and uneth-
   ical conversion therapies when they sought mental health care.
     While a student at college I sought counseling from a Christian psychologist and profes-
     sor. He encouraged me to see him in his private practice and to go through 40 sessions of
     “aversive conditioning” or electric shock therapy to cure me of my homosexuality. (Age 32)

      Such experiences with mental health practitioners contributed to participant
   reluctance to pursue psychosocial care while students.


   Culture of fear
   Students clearly articulated a culture of fear that permeated many of their expe-
   riences as LGBTQ students at religious institutions. Participants reported a fear of
   exposure of their LGBTQ identities, which was perpetuated by a broader climate that
   used “homophobic panic” and stigmatizing “code words.” In response, the LGBTQ
   students sought cover and tried to survive by using a variety of strategies to protect
   themselves and their identities.


   Fear of exposure
   Threats by faculty and other students resulted in fear of exposure of participants’
   LGBTQ identities. Given that school policies and practices punished students for
   having, displaying, or acting on an LGBTQ identity, hiding their identities was a
   pervasive concern. The fear of expulsion was a particular issue for many students.
     People at school could tell I was different, and comments and jokes came back to me from
     time to time. I lived in constant fear of expulsion from the college. I did not want this
     because I borrowed so much money to go there I could not back out; and I had nowhere
     else to go at this point because I was abandoned by my family because of my sexuality. (Age
     31)

     Some students discussed the climate of fear cultivated by the expulsion of others.
     The impact the expulsion [of a student admitting he was gay] had on the student body was
     one of constant fear—that the “underground” [LGBTQ] students would be discovered, that
     students or administration officials would be posted near the gay bar in town in order to
     catch student[s], that those who were attending gay-friendly events, churches, or businesses
     would be evidence enough to be expelled. (Age 29)

     I never felt afraid for my physical safety, but there was an enormous shadow following me
     around everywhere, apprehension that I’d be discovered and expelled. (Age 37)

      Fear was perpetuated among students through stories that circulated in which
   students that exhibited LGBTQ behaviors were disciplined and “made examples” as
   a warning to others.
     The people I went to school with ridiculed [a lesbian] and treated her like trash until
     the school finally expelled her when she came out. There were rumors circulating that
     her transcript was totally deleted from their records. I didn’t want to end up like that.
     (Age 24)
   EXHIBIT R                                                                                    11
Case 6:21-cv-00474-AA                Document 59-18              Filed 08/11/21           Page 12 of 26
   10        S. L. CRAIG ET AL.


      Thus, the threat of expulsion was a very powerful warning to students to vigilantly
   hide their LGBTQ identities.


   Homophobic panic and code words
   Communication of unacceptability of LGBTQ identities through language was
   an important component of the culture of fear. Some students reported direct
   homophobic slurs used simultaneously with religious pressure to modify their
   behavior, while many noted that homophobic attitudes, beliefs, and language were
   never discussed directly; instead, school administrators and faculty would use
   broadly understood “code words” to deliver the message that LGBTQ identities and
   behaviors were unacceptable. An intricate exclusionary system reinforced the idea
   that LGBTQ students were a threat to religious beliefs and consequently needed to
   be changed or rejected.
        Some guys called me “queer” and other hurtful names. One guy punched me out several
        times, saying that I didn’t deserve to be at a school with “real Christians.” Several people
        held prayer meetings dedicated to helping me “get my heart right with God.” All of these
        code words about being “different” masked a homophobic panic …. (Age 26)

       Many students stated that the specific terms or identity labels (e.g., gay, lesbian,
   homosexual) were never spoken, as instead schools delivered anti-LGBTQ messages
   via “code.” Participants noted that the anti-LGBTQ stigma is so pervasive that it is
   often communicated indirectly; for example, “in a secret society where everyone
   knows what they mean. We students are so familiar with this insider language that
   it is clear what administrators are referring to when they target friendships that are
   too close.”
        I was questioning my sexuality, but certainly wasn’t “out” so I was not expelled or disci-
        plined in school. However, in Religious Life (course) we were always warned against “par-
        ticular friendships” or “exclusive relationships” and I was disciplined over one such exclu-
        sive relationship with my roommate. (Age 33)

     Other students discussed that the reinforcement of acceptable behavioral norms
   was delivered using indirect or spiritual tones.
        Though I wasn’t expelled from the College for [LGBTQ] reasons officially, I was deemed
        to be “different” and not “spirit-filled.” It was suggested by several faculty members that I
        not return with my “rebellious spirit” intact. (Age 25)

      Such coded language was interpreted by participants as a rejection of their behav-
   ior for being “too gay” or “too friendly with other women,” which led to a fear of
   judgment and consistent internal monitoring of their behavior in order to make it
   through their education.


   Seeking cover
   To survive, participants coped in several ways. For some, the choice to attend reli-
   gious school was an attempt to seek cover and avoid or hide their LGBTQ identities.

   EXHIBIT R                                                                                        12
Case 6:21-cv-00474-AA              Document 59-18                Filed 08/11/21            Page 13 of 26
                                                       JOURNAL OF GAY & LESBIAN SOCIAL SERVICES           11


     I decided to go to a conservative Christian school as a sort of last ditch effort to run away
     from my sexuality. I thought if there was one thing that would convince me I wasn’t gay, it
     would be Christian college. (Age 31)

      Existing in an environment of constant surveillance caused some students to
   become hypervigilant and monitor their gender presentation or sexual orientation
   to avoid suspicion. Several sought to deny their sexual orientation by fully embrac-
   ing a non-LGBTQ lifestyle. Some channeled their internalized homophobia into
   anti-LGBTQ activities in the hopes of suppressing their own LGBTQ identities. This
   projection or overcompensation was often directed toward helping others in their
   battle against LGBTQ behaviors.
     I was very homophobic and a volunteer counselor at a local ministry to help people change
     their sexual orientation. I started to break down toward the end of the last semester as the
     struggle to cope with my attractions to other men was causing extreme anxiety. (Age 40)

     In an effort to deflect attention from their own feelings, others aggressively sought
   out and reported those in their colleges that were LGBTQ.
     My fear of God and the institution prevented me from acknowledging and/or doing any-
     thing “gay.” Actually I was one of the “gay bashers.” I successfully facilitated the expulsion
     of two of my fellow students as well as the removal of a faculty member. I now realize
     that this was my way of providing “cover” for myself. How sick I was. I believed their
     abusive hatred and felt somehow I was doing the right thing. How I regret my actions
     today!!! (Age 35)

      Many participants went to great lengths to seek cover for their LGBTQ identity
   by creating fake heterosexual relationships, and some of these behaviors continued
   long after leaving college.
     There was a time in my sophomore year that a kind friend pulled me aside and asked if I
     knew about the rumor going around that I was gay. Of course I denied it (I was denying it
     to myself at the time, I didn’t come out to myself until 12 years later), but I realized that that
     would explain why people were starting to avoid me. So I went on the offensive. I created
     an imaginary girlfriend at home and started to talk about her. I figured that since she was
     imaginary, I might as well make her blonde and stunningly beautiful. It only took a week
     for things to start to improve for me. People started to talk to me again. (Age 34)

      Several participants similarly sought cover in both heterosexual marriages and
   active church ministry.
     In college I was not out to myself and yet had circumstances where I was drawn to other
     gay men. In seminary, I received my degree in Pastoral Theology and had an affair with
     another man but didn’t come out to myself until 8 years later. By that time I was married
     and had two children. (Age 56)

     Based on the teachings of my former school and my then current church, I threw myself
     lock stock and bible into the straight world, as a good married Christian housewife, certain
     that as they taught me in the past, it was a matter of willpower and walking away from sin. I
     was tenacious. I stayed to all appearances a nice straight happily married Church attending
     Conservative Christian wife for TEN years before I could no longer ignore my gender and
     my unhappiness. (Age 41)


   EXHIBIT R                                                                                          13
Case 6:21-cv-00474-AA                Document 59-18               Filed 08/11/21           Page 14 of 26
   12        S. L. CRAIG ET AL.


      Sadly, such misguided efforts aimed at taking cover to survive in a hostile cli-
   mate had long-lasting negative impacts on participants. For example, participants
   discussed issues such as mental health problems that were linked to these negative
   educational experiences.


   Marginalization and isolation

   Administration and faculty contributed to the marginalization of LGBTQ students,
   often through the use of laughter or silence.
        One day I came to my dorm room with a sign posted on my door. This sign said, “I am a
        homosexual, I love sex with children.” I am still unsure of the intent of this message and
        I could not tell if it was a joke or a personal attack. Regardless, I reported the incident to
        my RA, who began to laugh. I went on to report this incident to the Student Development
        Office, and they did nothing. Throughout the school, I was often the butt of cruel “gay
        jokes” and I found little comfort in their so-called “Christian” environment. (Age 28)

     Other students articulated that in classes faculty made jokes at the expense of
   LGBTQ students.
        I was appalled my senior year when two professors made jokes in the classes about homo-
        sexuals. Of course everyone thought this was funny. Students were allowed and encouraged
        to bash homosexuals. I still have the memory burned in my mind of the last day of a social
        work class with families. The professor (dean of the department) stated, “what are some of
        the problems with families in America today?” One of the female students answered “gays.”
        The professor then continued a conversation on why gays are harming American families
        today and it was clear no one could speak up in opposition. (Age 26)

      The silencing of LGBTQ students or their allies reinforces the predominance of
   heterosexuality and gender normativity and fuels fears of disclosure. Thus, the use
   of silencing and shaming can contribute to less disclosure and further stigmatization
   of LGBTQ individuals.
      The importance of community experienced in religious schools was often dis-
   cussed by participants. Being isolated, voluntarily or involuntarily, from religious
   communities may represent a loss of identity and self because such support may be
   difficult to find elsewhere for individuals who have experienced extreme homopho-
   bia within religious institutions.
        I eventually left and no longer consider myself Catholic or a member of any organized
        religion. I still long for the sense of community I experienced and would love connecting
        with other [LGBTQ] former members of religious orders. (Age 36)

      Some participants still reported a pervasive sense of isolation and disconnection
   as a result of their intersecting LGBTQ and Christian identities.
        To my knowledge, I have never been around any gay persons. There have been no examples
        for me to follow and I spent many years, always knowing I was gay and always feeling
        like I was the only gay Christian in the entire universe. At this point in my life, I would
        like to form friendships with other LGBT people but I feel trapped (I come from a very
        conservative family as well) because I do not know any other LGBT people. (Age 45)


   EXHIBIT R                                                                                         14
Case 6:21-cv-00474-AA            Document 59-18             Filed 08/11/21           Page 15 of 26
                                                   JOURNAL OF GAY & LESBIAN SOCIAL SERVICES       13


      Consequently, the social exclusion experienced by LGBTQ students can result in
   isolation and a quest for affirmative support.

   Struggle
   Students expressed multiple manifestations of their struggle for survival within this
   social context that included suffering and suicide, as well as struggles between their
   religious and LGBTQ identities.

   Suﬀering and suicide
   The theme of suffering was quite pronounced throughout the students’ narratives.
   The treatment they received as students in religious schools was often accepted by
   participants as their punishment for being LGBTQ.
     My years at [university] was my purgatory for being cowardly. There were so many
     uncalled-for homophobic comments in classes and chapel and general student conversa-
     tions that I can’t even begin to list each singular incident. (Age 31)

      Such experiences of shame often spanned their years as students and contributed
   to accumulated stress to their mental health. Many participants stated that the con-
   stant pressure and need to escape the pain of daily life often led to suicide attempts
   while enrolled in school.
     I became extremely depressed and suicidal while attending school there. I took to drinking
     and partying to try to escape myself. One night I was with a friend and was so despondent,
     I took out a gun and threatened myself. He took it from me but it didn’t stop how I felt.
     Within six hours of my friend taking the shotgun, he was having me admitted to a hospital
     mental ward as I got to the point of using a knife to try to kill myself. (Age 24)

     Several students considered their suicidality and poor mental health as punish-
   ment for their inability to repress their LGBTQ identity. Many who hadn’t experi-
   enced this themselves had seen such behavior in their friends.
     Most of the young people I knew “disciplined” themselves. There were many suicide
     attempts and “nervous breakdowns” along with a constant low-level depression. (Age 25)

      The persistent antigay messages that these students received contributed to a
   sense of shame that was so powerful that many almost did not survive.

   Reconciling faith and LGBTQ identities
   Students in religious schools are taught that being LGBTQ means the severance of a
   spiritual relationship. Many have been raised in religious social contexts that include
   family, educational, and church systems. This struggle to live authentically both as
   a religious or spiritual person and as LGBTQ posed a challenge for many students.
   This religious context continued to shape the recognition and reporting of LGBTQ
   identity into young adulthood.
     I was taught homosexuality is a sin and one cannot have a relationship with God if they
     CHOOSE to live that lifestyle. So I hid my sexuality while in college and then abandoned


   EXHIBIT R                                                                                  15
Case 6:21-cv-00474-AA                Document 59-18              Filed 08/11/21           Page 16 of 26
   14        S. L. CRAIG ET AL.


        my relationship with God. I have just recently come out to my parents and they still demand
        that I repent and surrender this choice. (Age 35)

      The struggle between the external pressures exerted by their educational insti-
   tutions and their internal struggles with coexisting was commonly articulated in
   participant reflections.
        During my junior and senior years of college, I struggled to reconcile my faith and my
        sexual orientation. I had other gay friends there, some who I was sexually active with, but
        none of us were open about it. We all hid it and “struggled” spiritually with it. (Age 27)

      This internal battle caused inner turmoil for the participants because many had
   found comfort in their religious relationships. They were nostalgic for the feelings of
   closeness with their religion, but could not reconcile them with their shame. Some
   students appeared to be losing the struggle to reconcile their faith and LGBTQ iden-
   tity positively.
        I miss having a relationship with God and I hate feeling like a dirty person every time I
        think about being a lesbian, but I don’t know how to get around these issues. I feel like a
        bad, dirty person every day because I am homosexual. I feel that it is not a choice, but I
        can’t turn off the voices I’ve heard for nearly 20 years that tell me I’m wrong. (Age 51)

      In this study, many participants coped with this struggle by initially repressing
   their sexual orientation in favor of their religious identity. As time passed, many
   chose to seek out religious environments that were open and affirming and start the
   long process of self-acceptance by integrating their new, affirming faith with their
   sexual orientation and/or gender identity.
        I came to the belief that God made me this way. I tried to be straight for years and it never
        worked. This is who God made me to be, and God doesn’t make mistakes. (Age 42)

        For many, this reconciliation required a great deal of study.
        Thank God for the internet and my research. It took me the last two years of my marriage,
        researching everything from the bible in its original Hebrew, to seeking online connections
        for help as I wrestled with my most painful question, can you be gay and be Christian? My
        faith survived my coming out process. (Age 36)

      Many others felt that such reconciliation was not possible and/or felt comfort-
   able abandoning their religious identity, and accepting and owning their LGBTQ
   identity.
        Such is the nature of homophobia and the effect of religious oppression—some of us come
        to our senses and some do not. It must be dealt with or it deals with us—and suffering is the
        result. I threw out the ex-gay ministry propaganda, and decided that I’d be much happier
        being gay than worrying about whether or not I was going to heaven. I stopped believing
        in their “god” and never looked back. (Age 44)

      Thus, despite encountering significant stigma while students in religious schools,
   through these struggles many participants advanced their own identity develop-
   ment. This growth, through (a) a reconciliation of faith and identity, or (b) a


   EXHIBIT R                                                                                        16
Case 6:21-cv-00474-AA            Document 59-18              Filed 08/11/21           Page 17 of 26
                                                    JOURNAL OF GAY & LESBIAN SOCIAL SERVICES        15


   rejection of faith, or (c) a combination of the two, contributed to a reduction in
   despair and increased well-being.


   Coping and resilience

   Surviving through critical thinking and strategic activism
   Many participants credited their survival to their ability to think critically about
   their experiences and become active. Supporting other students was a way that
   participants were able to cultivate their own resilience. One student defied the
   administration and created a more open campus atmosphere by starting an
   “underground” LGBTQ support group. This represented a very real sense of
   empowerment.
     As the administration got word of my efforts (with the [LGBTQ] support group), I was
     asked to bring an end to the group and told if I did not stop passing out flyers I would
     be asked to leave the school. I did not end the group and I was prepared to be kicked
     out if that meant that [LGBTQ] students on campus could meet and get the support they
     needed. I would alter the location of the group every week and the meeting place was always
     confidential and always on campus. That was one of my necessities—it had to be on campus
     to meet the needs and send the school a message. The administration had a tough time
     targeting me after more and more students started to come out on campus and be open,
     God-loving queer folk. (Age 30)

       This positive, proactive response on campus to institutionalized homophobia
   illustrates an important form of resilience.
       In contrast, for some participants, leaving the campus, either voluntarily or invol-
   untarily, gave them the freedom express their true selves.
     When I was 21, just a few months after graduating from university, I finally came out to
     myself. I felt such a relief to finally allow myself to feel. (Age 23)

     Leaving campus allowed others to gain a different perspective and reflect on their
   experiences.
     I was asked to move off campus (I think they were trying to sweep me under the rug).
     When I left the university, I did not believe in God and despised the hypocrisy of the evan-
     gelical/fundamentalist Christians I met there. I have fought my way back. (Age 35)

      The ability to critically examine and grow beyond the exclusionary values
   that were revered in their RCU may be a particular act of resilience for these
   students.


   Discussion
   This study provides a glimpse into the understudied world of LGBTQ students in
   religious colleges and universities and provides insight for social service profes-
   sionals. Overall, participants articulated the centrality of a fight for survival when
   they considered their experiences in religious schools. As illustrated in Figure 1, the
   emergent conceptual model suggests that a larger context of fundamentalist/antigay

   EXHIBIT R                                                                                    17
Case 6:21-cv-00474-AA              Document 59-18               Filed 08/11/21          Page 18 of 26
   16       S. L. CRAIG ET AL.




   Figure . Fighting for survival: A conceptual model of LGBTQ students’ experiences in religious col-
   leges and universities.

   religious ideology impacts anti-LGBTQ institutional policies and structure, which
   in turn contributes to a culture of fear that may result in students seeking cover
   for their LGBTQ identities. This fear leads to isolation, which contributes to strug-
   gles with suffering and suicide. For many participants, these struggles to survive
   resulted in a renegotiation of LGBTQ and religious identities, which contributed to
   their resilience.
      Students struggled in various ways to resolve the conflict they felt between their
   sexual orientation and the religious doctrine to which they had been exposed.
   For instance, participants reported immersing themselves in helping others to
   eliminate their LGBTQ identity, burying themselves in religious ministry, enter-
   ing into heterosexual relationship (both real and imagined), and abandoning their
   schools or faith. Students’ painful struggles to understand their emerging sex-
   uality and to reconcile intersecting faith and sexual identities were exacerbated
   by homophobic policies that isolated students and threatened academic failure
   and expulsion for embracing their identities. Similar to the findings of Wilkin-
   son & Pearson (2009), students repressed or rejected their sexual orientation while

   EXHIBIT R                                                                                       18
Case 6:21-cv-00474-AA          Document 59-18           Filed 08/11/21           Page 19 of 26
                                               JOURNAL OF GAY & LESBIAN SOCIAL SERVICES    17


   some internalized and/or embraced anti-LGBTQ attitudes and actions. As many
   religious institutions assert identity is an individual choice, LGBTQ students may
   experience shame because they are not strong enough to “overcome” this identity
   and consequently believe they deserve punishment (Sanabria, 2012; Whitehead,
   2010). These conflicts resulted in great suffering, including suicidality for some stu-
   dents, and contribute to their poor mental health (Exley, 2013; Helminiak, 2008;
   Schuck & Liddle, 2001).
       Study participants that sought professional treatment found that the response
   by counselors ranged from ineffective to harmful “reparative” therapies. Such find-
   ings are particularly concerning given the stance of all major mental health and
   educational associations (National Association of Social Workers [NASW], Amer-
   ican Psychological Association [APA], American Counseling Association [ACA],
   Council on Social Work Education [CSWE]) that clearly renounce conversion ther-
   apies (Alessi & Craig, 2016; Anton, 2010; Craig et al., 2016; NASW, 2000; Whitman,
   Glosoff, Kocet, & Tarvydas, 2013). More recently, several states have banned con-
   version therapy (Lavender, 2015), yet these important advances may not have influ-
   enced the climate at RCU.
       When LGBTQ students are afraid to disclose their LGBTQ status, then the stu-
   dent body is only aware of heterosexually identified students (Turner, Crisp, &
   Lambert, 2007), which in turn perpetuates further silence. Pettigrew and Tropp
   (2006) found that as individuals increasingly socialize with those who are different,
   they develop empathy, become less anxious about future interactions, and become
   less prejudicial in their attitudes. Specific to religious contexts, Cunningham and
   Melton (2013) found that effects of religiosity on sexual prejudice decreased when
   more contact was reported between LGBTQ and religious individuals. Woodford,
   Levy, and Walls (2013) found that heterosexual Christian students enrolled in a large
   non-sectarian liberal arts university often harbored strong anti-LGBTQ personal
   feelings, yet reported that the open campus climate exposed them to LGBTQ stu-
   dents, which contributed to a reduction of their own homophobia. The results of
   this study suggest that LGBTQ students in religious colleges or universities who do
   not have “out” classmates or professors, or an LGBTQ-affirming climate to neu-
   tralize pre-existing prejudicial attitudes, may experience threats to their mental
   health.
       Harsh penalties for LGBTQ students may emerge from the sense that religious
   organizations believe they are under attack. All participants discussed the struggles
   they experienced between their LGBTQ and religious identities in an environment
   of administrative vigilance. Macgillivray (2008) found that religious hegemony or
   authority is enshrined in institutional policies and covenants. Perceived threats to
   these policies, such an LGBTQ identity, are considered direct attacks on spiritual and
   educational authority. Narratives suggest that faculty, administration, and students
   all serve as anti-LGBTQ enforcers in various capacities. Macgillivray (2008) found
   that religious teachers feared that the legitimization of gay identities would lead to
   the destruction of social norms. Thus, to protect society and their religious beliefs,
   teachers had to be vigilant enforcers of anti-LGBTQ rhetoric. These religious beliefs

   EXHIBIT R                                                                              19
Case 6:21-cv-00474-AA           Document 59-18          Filed 08/11/21       Page 20 of 26
   18      S. L. CRAIG ET AL.


   were “protected” through a range of strategies similar to this study, such as covertly
   mocking LGBTQ students and overtly disciplining them. Importantly, this study
   found that such approaches were also utilized by other students toward their LGBTQ
   classmates.
      In defense of this perceived attack on spirituality, some religious school leaders
   have opposed antidiscrimination policies for LGBTQ students and support their
   expulsion on the grounds of freedom of religion. Echoing Hills’ (1997) explana-
   tion that conservatives see antidiscrimination policies as “barely concealed weapons
   aimed at their beliefs” (p. 1588), religious high school administrators have argued
   that anti-LGBTQ policies protect parental rights to a religious education and chang-
   ing those policies would be a violation of the First Amendment. This approach
   effectively positions the ardently religious as the group experiencing discrimination
   (Macgillivray, 2008), and the need for protection from this “threat of homosexu-
   ality” contributes to homophobic attitudes (Harbaugh & Lindsey, 2015; Haslam &
   Levy, 2006). Such fears are now being enshrined in the religious freedom legisla-
   tion being considered across many states (National Conference of State Legislatures,
   2015).
      Although participants shared challenges associated with navigating LGBTQ
   identities while enrolled in RCU, they also articulated resilience. Ungar (2012)
   describes resilience as the facilitative processes that enable coping in the face of
   adversity and notes that environments that facilitate or hinder resilience may be
   particularly influential to coping and ultimately impact mental health. Although
   religious environments provide a sense of community (Berger, 1967; Krause, 2008)
   and belonging (Lim & Putnam, 2010), the rejection experienced by some par-
   ticipants left them floundering for social connections and support. This study
   found that survival for LGBTQ individuals included seeking community outside of
   the traditional religious contexts (e.g., with LGBTQ advocacy). Study participants
   reduced the impact of discrimination in a homophobic social context by managing
   their LGBTQ identities using “role flexing” (e.g., identifying with the least stigma-
   tized identity in a given context) (Craig, Austin, Alessi, McInroy, & Keane, 2016;
   Wilson & Miller, 2002). While leaving their institutions physically (e.g., withdraw-
   ing from classes) or emotionally (e.g., internally rejecting the doctrine) was the only
   option for some, others became advocates actively working to eliminate barriers for
   LGBTQ students. This positive, proactive response to institutionalized homophobia
   has been demonstrated in earlier research (Craig, Dentato, Messinger, & McInroy,
   2016). Wilkinson and Pearson (2009) found that students that report LGBTQ attrac-
   tion in stigmatizing contexts often leverage that same stigmatized identity to combat
   stigma on behalf of others. Other participants retained their spiritual connections by
   deftly negotiating oppressive religious perspectives to create positive spiritual rela-
   tionships. Although the long-term effects of attending religious educational insti-
   tutions are not well-understood, the results of this study point to lingering effects
   of pervasive and persistent religious social environments to LGBTQ student mental
   health.


   EXHIBIT R                                                                           20
Case 6:21-cv-00474-AA          Document 59-18           Filed 08/11/21           Page 21 of 26
                                               JOURNAL OF GAY & LESBIAN SOCIAL SERVICES    19


   Implications for practice

   This study provides several insights to inform practice with LGBTQ populations. It
   is critical to consider the effects of attendance at religious educational institutions
   with homophobic and transphobic cultures, policies, and practices. As identified
   by study participants, LGBTQ individuals may have a range of responses to those
   experiences that may impact their long-term mental health. Initially, practitioners
   should assess their clients for attendance at RCU and acknowledge the possibility of
   psychosocial effects. Few study participants had ever discussed these experiences.
   Although religious involvement can be protective for some LGBTQ individuals, the
   results of this study indicate that involvement with non-affirming, non-inclusive
   religious organizations may pose serious risks. For instance, the impact of these
   experiences on feelings such as guilt, shame, and fear appeared to cross the bound-
   aries of denomination or age. Services and interventions for these individuals
   should be tailored to these experiences; particularly noting that clients many report
   a struggle between religious and sexual or gender identities. For many clients,
   their own familial and religious identities are inextricably linked and they may
   internalize their experience in a RCU as a failure to live up to the expectations of
   those communities. Openly addressing any shame and guilt through affirmative
   practice approaches that reinforce the positive nature of LGBTQ identities is critical
   (Craig, Austin & Alessi, 2013).
      A key component of affirmative practice with clients exposed to LGBTQ oppres-
   sion based in religion is the self-reflection and self-awareness of providers, and a
   willingness to engage in social change efforts. Service providers should explore their
   own beliefs with regard to LGBTQ identity and religious affiliations and involve-
   ment. Providers must recognize that progress on LGBTQ issues at national and state
   levels does not necessarily trickle down to a RCU rooted in fundamentalist ideolo-
   gies and anti-LGBTQ beliefs. As such, practitioners should take steps to recognize
   hegemony and advocate for positive change across colleges and universities. Practi-
   tioners must take an active stance against RCU that embrace policies and practices
   that explicitly oppress LGBTQ students, faculty, and staff (e.g., written policy state-
   ments and student handbooks), as well as against other implicit and insidious forms
   of LGBTQ oppression (e.g., do not have an LGBTQ student organization, fail to
   provide gender-inclusive restrooms or housing). Raising awareness about the dele-
   terious impact of LGBTQ-oppressive practices and the positive impact of inclusiv-
   ity is also critical. Practitioners can work with institutions to create campuses that
   are safe, welcoming, and affirming across the spectrum of identities. Despite such
   potential, this study suggests a tremendous gap in the provision of safe and affirm-
   ing higher education for LGBTQ students, a gap which deserves immediate scrutiny
   and action.

   Limitations

   This study has several limitations. This research was designed to elicit the expe-
   riences of current and former students in RCU. Students that did not participate

   EXHIBIT R                                                                              21
Case 6:21-cv-00474-AA                Document 59-18               Filed 08/11/21           Page 22 of 26
   20         S. L. CRAIG ET AL.


   may have different narratives. For example, negative experiences may have com-
   pelled some students to participate while those with positive narratives did not.
   Thus the data may reflect the experiences of students in schools with more fun-
   damentalist beliefs and do not cover all RCU. Moreover, there may be individual
   supportive faculty, staff, and students within these institutions. This study spanned
   several years and a vast number of religious educational environments. Although the
   heterogeneity of the themes over time and institutional contexts is illuminating for
   this exploratory study, this study does not claim to capture the nuance of particular
   denominations and recognizes that some institutions may have evolved over time.
   However, current information suggests that some RCU continue to espouse anti-
   LGBTQ policies and approaches to education. For example, the San Diego Christian
   College (SDCC) student handbook states the following:
        This covenant is binding for all members who choose to become part of the SDCC Com-
        munity and are standards that should be maintained while a member. The traits that
        should not inhabit our lives are identified as abusive anger; malice; jealousy; lust; sexually
        immoral behavior including premarital sex, adultery, pornography, homosexuality, [and]
        evil desires. (SDCC, 2010, p.2)

       As participants were not required to list their religious schools (although some
   did), we opted not to list the institutions because we would not have a comprehensive
   list. Importantly, religiously affiliated educational environments may be on a con-
   tinuum between and within denominations (Moon, 2014) and there is likely great
   diversity within those student experiences. Despite this challenge, it is important
   to give voice to the experiences of participants in this study. Moreover, the linger-
   ing effects of these experiences are important as the current climates may have little
   bearing on the lives of former students. Importantly, we did not ask whether the
   participants experienced long-term effects from these experiences in RCU, yet most
   participants utilized the open-narrative format to reflect extensively and insightfully
   about those effects. Surprisingly, few of our participants espoused fluid sexual or
   gender identities (e.g., genderqueer). This could be due to the retrospective nature
   of the data collection or the pressures of religious environments that leave little room
   for flexible identities (Wilkinson & Pearson, 2009), but remains an intriguing area
   for study.



   Conclusion
   The results of this exploratory study across multiple institutions indicate experi-
   ences in religious social contexts share unique features that deeply impact both
   current and former students. Despite the progress of the LGBTQ movement, such
   advances may not be impacting the lives of LGBTQ students in RCU. Since thou-
   sands of LGBTQ students attend these educational institutions across the United
   States, their experiences are important to study and our results offer critical insights
   into the painful experiences and potential implications of anti-LGBTQ university
   policies, practices, and ideologies on the lives of students.

   EXHIBIT R                                                                                         22
Case 6:21-cv-00474-AA               Document 59-18               Filed 08/11/21           Page 23 of 26
                                                       JOURNAL OF GAY & LESBIAN SOCIAL SERVICES        21


   Acknowledgments
   The authors thank the inspirational LGBTQ students for sharing their wisdom and experiences
   for this study and Lauren McInroy for her incisive edits.


   References
   Alessi, E., & Craig, S. L. (2016). Conversion Therapy: A Position Statement for Social
       Work Education. Council on Social Work Education. Retrieved from http://www.cswe.org/
       File.aspx?id=85010.
   Anton, B. S. (2010). APA resolution on appropriate affirmative responses to sexual orientation
       distress and change efforts: APA policy statements. American Psychologist, 65, 385–475.
   Barnes, D. M., & Meyer, I. H. (2012). Religious affiliation, internalized homophobia, and mental
       health in lesbians, gay men, and bisexuals. The American Journal of Orthopsychiatry, 82(4),
       505–515.
   Berger, P. L. (1967). Sacred canopy: Elements of a sociological theory of religion. Garden City, NJ:
       Doubleday & Co.
   Bowen, G. A. (2009). Document analysis as a qualitative research method. Qualitative Research
       Journal, 9(2), 27–40.
   Broughman, S. P., Swaim, N. L., & Keaton, P. W. (2009). Characteristics of private schools in
       the United States: Results from the 2007–08 private school universe survey (NCES 2009-313).
       Washington, DC: National Center for Education Statistics, Institute of Education Sciences,
       U.S. Department of Education.
   Charmaz, K. (2014). Constructing grounded theory: A practical guide through qualitative analysis.
       Thousand Oaks, CA: SAGE.
   Cohen, S. M., Aviv, C., & Kelman, A. Y. (2009). Gay, Jewish, or both: Sexual orientation and Jewish
       engagement. Journal of Jewish Communal Service, 84(1/2), 154–166.
   Coker, T., Austin, S., & Schuster, M. (2010). The health and health care of lesbian, gay, and bisexual
       adolescents. Annual Review of Public Health, 31, 457–477.
   Craig, S. L., Alessi, E., Munke, P., Galarza, J. (2016). Conversion Therapy: A Resource
       Guide for Social Work Education. Council on Social Work Education. Retrieved from
       http://www.cswe.org/File.aspx?id=85017
   Craig, S. L., Austin, A., & Alessi, E. (2013). Gay affirmative cognitive behavioral therapy for sexual
       minority youth: A clinical adaptation. Clinical Social Work, 41(3), 25–35.
   Craig, S. L., Austin, A., Alessi, E. McInroy, L., & Keane, G. (2016). Minority Stress and HERoic
       Coping among Ethnoracial Sexual Minority Girls: Intersections of Resilience. Journal of Ado-
       lescent Research. doi: 10.1177/0743558416653217.
   Craig, S. L, Dentato, M., Messinger, L., & McInroy, L. (2016). Educational determinants of readi-
       ness to practice with LGBTQ Clients: Social work students speak out. British Journal of Social
       Work, 46(1), 115–134. doi: 10.1093/bjsw/bcu107
   Cress, C. M. (2000). The impact of campus climate on students’ cognitive and affective develop-
       ment. Dissertation Abstracts International, 60, 7A.
   Cunningham, G., & Melton, E. (2013). The moderating effects of contact with lesbian and gay
       friends on the relationships among religious fundamentalism, sexism, and sexual prejudice.
       Journal of Sex Research, 50(3–4), 401–408.
   D’Augelli, A. R., Pilkington, N. W., & Hershberger, S. L. (2002). Incidence and mental health
       impact of sexual orientation victimization of lesbian, gay, and bisexual youths in high school.
       School Psychology Quarterly, 17, 148–167.
   Eckholm, E. (2011, April 18). Even on religious campuses, students fight for gay identity. The New
       York Times. Retrieved from http://www.nytimes.com/2011/04/19/us/19gays.html?_r=0



   EXHIBIT R                                                                                         23
Case 6:21-cv-00474-AA               Document 59-18               Filed 08/11/21            Page 24 of 26
   22       S. L. CRAIG ET AL.


   Epstein, D., Telford, D., & O’Flynn, S. (2003). Silenced sexualities in schools and universities. Tren-
       tham Publishing: Stoke-on-Trent.
   Evans, N. J., & Broido, E. M. (1999). Coming out in college residence halls: Negotiation, meaning
       making, challenges, supports. Journal of College Student Development, 40, 658–668.
   Exley, S. (2013, August 9). Equality: The schools that can legally expel gay students. Times Edu-
       cational Supplement, 50–56.
   Harbaugh, E., & Lindsey, E. (2015). Attitudes toward homosexuality among young adults: Con-
       nections to gender role identity, gender-typed activities, and religiosity. Journal of Homosex-
       uality, 62(8), 1098–1125.
   Haslam, N., & Levy, S. R. (2006). Essentialist beliefs about homosexuality: Structure and impli-
       cations for prejudice. Personality and Social Psychology Bulletin, 32, 34–44.
   Hatzenbuehler, M. L. (2011). The social environment and suicide attempts in a population-based
       sample of LGB youth. Pediatrics, 127, 896–903.
   Hatzenbuehler, M. L., Pachankis, J. E., & Wolff, J. (2012). Religious climate and health risk behav-
       iors in sexual minority youth: A population-based study. American Journal of Public Health,
       102(4), 657–663.
   Helminiak, D. A. (2008). Homosexuality in world religions: A case study in the psychology of
       spirituality. Journal of Individual Psychology, 64(2), 137–160.
   Hills, R. M. (1997). You say you want a revolution? The case against the transformation of cul-
       ture through antidiscrimination laws: Review of antidiscrimination law and social equality.
       Michigan Law Review, 95, 1588–1635.
   Krause, N. (2008). Aging in the church: How social relationships affect health. West Conshohocken,
       PA: Templeton Foundation Press.
   Lavender, P. (2015). Some states are taking a stand against controversial gay conversion ther-
       apy. Retrieved from http://www.huffingtonpost.com/2015/02/24/gay-conversion-therapy-
       bills_n_6745692.html
   Lim, C., & Putnam, R. (2010). Religion, social networks and life satisfaction. American Sociolog-
       ical Review, 75(6), 914–933.
   Macgillivray, I. (2008). Religion, sexual orientation, and school policy: How the Christian right
       frames its arguments. Educational Studies, 43, 29–44.
   Meyer, I. H. (2003). Prejudice, social stress, and mental health in lesbian, gay, and bisexual pop-
       ulations: Conceptual issues and research evidence. Psychological Bulletin, 129, 674–697.
   Moon, D. (2014). Beyond the dichotomy: Six religious views of homosexuality. Journal of Homo-
       sexuality, 61(9), 1215–1241.
   National Association of Social Workers. (2000). “Reparative” and “conversion” therapies
       for lesbians and gay men: Position statement. Retrieved from http://www.naswdc.org/
       diversity/lgb/reparative.asp
   National Conference of State Legislatures. (2015). State religious freedom restoration legis-
       lation. Retrieved from http://www.ncsl.org/research/civil-and-criminal-justice/2015-state-
       rfra-legislation.aspx
   Newman, P., & Fantus, S. (2015). A social ecology of bias-based bullying of sexual and gender
       minority youth: Toward a conceptualization of conversion bullying. Journal of Gay and Les-
       bian Social Services, 27, 46–63.
   Newport, F. (2011). For first time, majority of Americans favor legal gay marriage.
       Retrieved from http://www.gallup.com/poll/147662/First-Time-Majority-Americans-Favor-
       Legal-Gay-Marriage.aspx
   Padgett, D. K. (2008). Qualitative methods in social work research: Challenges and rewards (2nd
       ed.).Thousand Oaks, CA: Sage.
   Pettigrew, T. F., & Tropp, L. R. (2006). A meta-analytic test of intergroup contact theory. Journal
       of Personality and Social Psychology, 90, 751–783.



   EXHIBIT R                                                                                          24
Case 6:21-cv-00474-AA              Document 59-18              Filed 08/11/21           Page 25 of 26
                                                     JOURNAL OF GAY & LESBIAN SOCIAL SERVICES        23


   Rankin, S. R. (2003). Campus climate for gay, lesbian, bisexual, and transgender people: A national
       perspective. New York, NY: National Gay and Lesbian Task Force Policy Institute.
   Rivers, I., & Taulke-Johnson, R. (2002). Listening to lesbian, gay and bisexual students on cam-
       pus: Experiences of living in university residence. Australasia Association for Institutional
       Research, 11(2), 1–19.
   Rosario, M., Yali, A. M., Hunter, J., & Gwadz, M. V. (2006). Religion and health among lesbian,
       gay and bisexual youths: An empirical investigation and theoretical explanation. In A. M.
       Omoto & H. S. Kurtzman (Eds.), Sexual orientation and mental health: Examining identity and
       development in lesbian, gay and bisexual people (pp. 117–140). Washington, DC: American
       Psychological Association.
   Sanabria, S. (2012). Religious orientation and prejudice: Predictors of homoprejudice. Journal of
       LGBT Issues in Counseling, 6, 183–201.
   San Diego Christian College (SDCC). (2010). Student community covenant. Retrieved from
       http://internal.sdcc.edu/sites/default/files/Advancement_Administration/2010%20Commu
       nity%20Covenant.pdf
   Schmidt, C. K., & Nilsson, J. E. (2006). The effects of simultaneous developmental processes:
       Factors relating to the career development of lesbian, gay, and bisexual youth. Career Devel-
       opment Quarterly, 55, 22–37.
   Schuck, K. D., & Liddle, B. J. (2001). Religious conflicts experienced by lesbian, gay and bisexual
       individuals. Journal of Gay and Lesbian Psychotherapy, 5(2), 63–82.
   Sherkat, D. E. (2002). Sexuality and religious commitment in the United States: An empirical
       examination. Journal for the Scientific Study of Religion, 41, 313–323.
   Sherkat, D., Powell-Williams, M., Maddox, G., & de Vries, K. (2011). Religion, politics, and sup-
       port for same-sex marriage in the United States, 1988–2008. Social Science Research, 40, 167–
       180.
   Silverschanz, P., Cortina, L. M., Konik, J., & Magley, V. (2008). Slurs, snubs, and queer jokes:
       Incidence and impact of heterosexist harassment in academia. Sex Roles, 58(3), 179–191.
   Soulforce. (2014). The equality ride. Retrieved from http://www.soulforce.org/equalityride
   Tsang, J., & Rowatt, W. C. (2007). The relationship between religious orientation, right-wing
       authoritarianism, and implicit sexual prejudice. International Journal for the Psychology of
       Religion, 17(2), 99–120.
   Turner, R. N., Crisp, R. J., & Lambert, E. (2007). Imagining contact can improve intergroup atti-
       tudes. Group Processes & Intergroup Relations, 10, 427–441.
   Ungar, M. (2012). Researching and theorizing resilience across cultures and contexts. Preventive
       Medicine, 55(5), 387–389.
   United States Department of Education. (2104, May). National Center for Education Statis-
       tics, Integrated Postsecondary Education Data System (IPEDS), “Fall Enrollment Survey”
       (IPEDS-EF:90–99); and IPEDS spring 2001 through spring 2013, enrollment. Retrieved from
       https://nces.ed.gov/programs/coe/indicator_cha.asp
   Walls, N. E., Freedenthal, S., & Wineski, H. (2008). Suicidal ideation and attempts among sexual
       minority youth receiving social services. Social Work, 53, 21–29.
   Whitehead, A. (2010). Sacred rights and civil rights: Religion’s effects on attitudes towards same-
       sex unions and the perceived causes of homosexuality. Social Science Quarterly, 91(1), 63–79.
   Whitley, J. E. (2009). Religiosity and attitudes toward lesbians and gay men: A metaanalysis. Inter-
       national Journal for the Psychology of Religion, 19(1), 21–38.
   Whitman, J., Glosoff, H., Kocet, M., & Tarvydas, V. (2013). Ethical issues related to conversion
       or reparative therapy. Retrieved from http://www.counseling.org/news/updates/2013/01/
       16/ethical-issues-related-to-conversion-or-reparative-therapy#sthash.SFMVq8sG.dpuf
   Wilkinson, L., & Pearson, J. (2009). School culture and the well-being of same-sex attracted youth.
       Gender & Society, 23(4), 542–568.



   EXHIBIT R                                                                                       25
Case 6:21-cv-00474-AA                         Document 59-18           Filed 08/11/21           Page 26 of 26
            24           S. L. CRAIG ET AL.


            Wilson, B. D. M., & Miller, R. L. (2002). Strategies for managing heterosexism used among
               African-American gay and bisexual men. Journal of Black Psychology, 28, 371–391.
            Wolff, J. R., & Himes, H. L. (2010). Purposeful exclusion of sexual minority youth in Chris-
               tian higher education: The implications of discrimination. Christian Higher Education, 9,
               439–460.
            Woodford, M., Han, Y., Craig, S. L., Matney, M., & Lin, C. (2013). Interpersonal discrimi-
               nation and mental health among sexual minority college students: The type and form of
               discrimination does matter: A mediation analysis. Journal of Gay and Lesbian Mental Health,
               18(2), 142–163.
            Woodford, M. R., Krentzman, A. R., & Gattis, M. N. (2012). Alcohol and drug use among sex-
               ual minority college students and their heterosexual counterparts: The effects of experienc-
               ing and witnessing incivility and hostility on campus. Substance Abuse and Rehabilitation, 3,
               11–23.
            Woodford, M., Levy, D., & Walls, E. (2013). Sexual prejudice among Christian college stu-
               dents, denominational teachings, and personal religious beliefs. Review Religious Research, 55,
               105–130.




            EXHIBIT R                                                                                     26

View publication stats
